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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNA CURLING, et al.,
Plaintiffs,
v.                                              Civil Action No.: 1:17-cv-2989-AT

BRAD RAFFENSPERGER, et al.,
Defendants.




                   DECLARATION OF KEVIN SKOGLUND

      Pursuant to 28 U.S.C. § 1746, I, KEVIN SKOGLUND, declare under

penalty of perjury that the following is true and correct:

      1. This declaration supplements my declarations previously submitted in this

 case, and I incorporate my previous declarations as if fully stated herein.

      2. The Coalition Plaintiffs asked me to advise on the propriety and security

 risks of lifting the seal on the redacted version of the report, “Security Analysis of

 Georgia’s ImageCast X Ballot Marking Devices,” by Dr. Halderman and Dr.

 Springall (“ICX Report”).

      3. It is my opinion that the seal on the redacted ICX Report can be lifted and

 the public should be permitted to learn its contents.

      4. I read the unredacted ICX Report in July 2021. I reviewed the redacted

 report around November 2021 and again this month. My opinion at the time and

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still today is that the redacted ICX Report is suitable for public release. It

describes several serious vulnerabilities which increase security risks but which

remain unknown to key stakeholders, such as state and county election officials

both inside and outside of Georgia. The unredacted text provides sufficient detail

for these stakeholders to understand and manage the risks. The redacted text hides

technical details which are not useful to stakeholders but which might be useful to

adversaries.

     5. Disclosing vulnerabilities responsibly is not a new challenge. Coordinated

Vulnerability Disclosure (“CVD”) has become a common practice for disclosing

security research. CVD balances several equities while improving security. CVD

programs allow a vendor to validate a report and develop mitigations over a set

period of time before the vulnerability is disclosed to the public. However, CVD

does not grant vendors permission to be slow or unresponsive because the time

period until public disclosure is reasonable but limited. From the point of view of

the users whose security is a risk, a finite delay strikes a good balance between

immediate disclosure and unlimited procrastination.

     6. It is common for CVD programs to allow a vendor 90 days to validate a

report and to develop mitigations before the vulnerability is disclosed to the

public. It is my opinion that election systems require more time in most cases—

due to the need for federal and state certification and the difficulty of upgrading




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systems during the weeks when an election is underway—but 180 days is

sufficient.

     7. The Court has observed the feasibility of developing, certifying, and

installing certain software changes quickly. At the end of September 2020, the

Secretary of State identified an issue with the two-column display of candidates

on the ImageCast X BMDs. In just 14 days, Dominion created a software update,

got it reviewed by a Voting System Test Lab, and received federal and state

certification, while the Secretary of State oversaw its distribution and installation

in over 30,000 BMDs. Processes can move quickly when motivated.

     8. It has been 683 days since the ICX Report was written on July 1, 2021. It

is my understanding that the Secretary of State and Dominion read the unredacted

report soon after it was written. It is also my understanding that Dominion shared

the unredacted report with a cybersecurity team at MITRE, and that the Secretary

of State retains Fortalice as a cybersecurity advisor. They have had more than

enough time to assess the vulnerabilities and to mitigate the increased risks. Any

failure to act after almost two years is their responsibility. (CVD does not allow

unlimited procrastination because unaddressed issues are harmful to security.)

     9. Dominion may have mitigated vulnerabilities in a subsequent software

version. Dominion submitted its Democracy Suite 5.17 software (“DS 5.17”) for

EAC certification on October 4, 2022 and received approval on March 16, 2023.

DS 5.17 includes software changes that appear to be related to the ICX Report. I

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do not know if DS 5.17 adequately addresses all of the vulnerabilities in the ICX

Report, but I have no doubt Dominion has had sufficient opportunity to address

them.

        10. Many security-sensitive actions can be evaluated by whether they help

the “defenders” or the “attackers” more. Lifting the seal on the redacted ICX

Report will benefit other jurisdictions which have not had an opportunity to

evaluate it and consider mitigations. For example, reading it may hasten adoption

of the DS 5.17 software and generate substantive conversations about remaining

areas of concern. Without that knowledge, some jurisdictions may not understand

or fully appreciate the risks and may remain more vulnerable to malfeasance than

they realize. Defenders get no benefit if the redacted ICX Report remains under

seal.

        11. I do not think lifting the seal on the redacted ICX Report will benefit

attackers significantly. Adversaries will learn non-technical details about the

vulnerabilities, but not the technical recipes necessary to exploit them.

(Accordingly, I do not favor releasing the unredacted ICX Report to the public.)

Adversaries with modest technical skills would not have enough information to

abuse it. Adversaries with advanced skills can discover the same vulnerabilities

without the technical details. Dr. Halderman and Dr. Springall spent

approximately 12 person-weeks on their analysis. A well-resourced adversary

could do the same work in days. These conclusions are unaffected by the

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unregulated distribution of election software from Coffee County and elsewhere.

Unlike the defenders, attackers will benefit if the redacted ICX Report remains

under seal because more defenders may remain under-protected and even

adversaries with no technical skills can traffic in disinformation about what the

sealed report contains.

     12. I conclude that releasing the redacted ICX Report is of much greater

benefit to the defenders than to the attackers.

     13. The Court does not need to manage a CVD program or shoulder

responsibility for the impact of vulnerability disclosures. Dominion and the

Secretary of State have the means and expertise to address vulnerability reports.

Other jurisdictions also have the means and expertise, provided they gain access

to the redacted ICX Report.

     14. It is for these reasons that I favor lifting the seal on the redacted ICX

Report.


Executed on this date, May 15, 2023.




                                             Kevin Skoglund




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